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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                       09‐CR‐109
            vs.

ALEJANDRO PALACIOS RENGIFO              ECF




                 MEMORANDUM OF LAW IN SUPORT OF
           ALEJANDRO PALACIOS RENGIFO’S PRETRIAL MOTIONS




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                                  INTRODUCTION



       Alejandro Palacios Rengifo respectfully submits this memorandum in

support of his motion to dismiss the indictment because his prosecution for the

offense of kidnapping occurring wholly outside the United States in the United

States District Court for the Southern District of New York violates the Due Process

Clause of the Fifth Amendment.

       Mr. Rengifo also requests further discovery on whether agents of the United

States were involved with Columbian authorities when he was subject to

questioning without being advised of his right to remain silent and without the

presence of a lawyer. In this regard, the defense requests all communications

between United States agents and the law enforcement authorities of Panama and

Columbia as it bears on the prosecution of Mr. Rengifo.

       Before addressing the law relating to these requests, defense counsel wants

to make the Court aware of the difficulties in preparing these motions. Counsel has

only represented this defendant for four weeks. The defendant does not speak

English and is illiterate in his own language, Spanish. Prior to being extradited to

the United States, he spent perhaps a year in prison in Columbia. Prior to that he

has spent almost ten years living in the jungle with the FARC since the age of

fourteen. Accordingly, communication with the defendant regarding the legal and

factual issues in this case requires more than the usual amount of time. Moreover,

for reasons which are not clear, he is being housed in Brooklyn Detention Center in




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the Special Housing Unit (SHU) which makes visiting the defendant even more time

consuming and cumbersome.

       All of the discovery is in Spanish and the government has only provided the

translation of one important document. All of the events took place in Panama and

Columbia and all the witnesses are in Columbia. The only witness not located

overseas is probably the victim.

       Counsel has prepared these motions based on the available information

which is admittedly only a small part of the total information which should

eventually be developed in this case. For this reason, counsel requests permission

to file additional motions as the case progresses as additional discovery and/or

investigation reveal important facts.



                              FACTUAL BACKGROUND


       Mr. Rengifo has been charged with a violation of the Hostage Taking Act, 18

U.S.C. § 1203, (hereinafter the “Act” ) which provides in relevant part:


        (a) Except as provided in subsection (b), of this section, whoever, whether
inside or outside the United States, seizes or detains and threatens to kill, to injure,
or to continue to detain another person in order to compel a third person or a
governmental organization to do or abstain from doing any act as an explicit or
implicit condition for the release of the person detained, or attempts or conspires to
do so, shall be punished by imprisonment for any term of years or for life . . .




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(b)(1) It is not an offense under this section if the conduct required for the offense
occurred outside the United States unless ‐‐‐‐
        (A) the offender or person seized or detained is a national of the United
States. . . . 1




       The facts, as set forth in the Declaration of Counsel accompanying this

motion are as follows. The victim is a United States national who was living in

Panama City, Panama from which he was kidnapped on April 6, 2008. He was then

held hostage in Panama or Columbia until February 23, 2009 when he was released

after his family paid the kidnappers’ ransom demands.


       The government alleges that Mr. Rengifo and others acted as guards of the

victim while he was held by the 57th Front of the Fuerzas Armadas Revolucionaries

de Colombia (the “FARC”). Based on the government’s version of the events as set

forth in its “Memorandum of Law in Response to the Defendant’s Motion to

Suppress Identification Evidence”, the victim was kidnapped by Orobio Lobon at the

behest of Luis Fernando Mora Pestana a/k/a “Silver” the deputy commander of the

57th Front. Lobon is not a member of FARC.


       After being abducted by a group of men including members of the

Panamanian police, the victim was taken by boat to a remote area on the coast of

Panama where he was transferred to the custody of “three men armed with AK‐47


1 The Act was passed in 1984, some years after the United States became a signatory
to the International Convention Against the Taking of Hostages and the language of
the Act is derived from the Convention. United States v. Pacheco, 902 F. Supp. 469
(S.D.N.Y. 1995). The defendant is not challenging the constitutionality of the statute
itself.


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assault rifles who took him inland to a jungle camp.” Memorandum at 3. These

three men, one of whom the government alleges was Mr. Rengifo, as well as three

others unnamed, guarded the victim at a series of jungle camps over the next ten

months.


       If called to testify, Mr. Rengifo would present the following information. Mr.

Rengifo is approximately 26 years old. He grew up in a small rural community of

Rio Sucio, Choco, Columbia. The FARC forcibly recruited him at the age of 14. He

never attended school and cannot read or write. During the years with FARC he

lived in the jungle and had a number of different jobs. His commander was Silver,

the man the government has identified as the mastermind of the scheme to kidnap

the victim in this case. The FARC is a military/terrorist organization and its recruits

are forced to obey the orders of their commanders. FARC keeps its recruits through

threats and the use of force to prevent them from attempting to escape. The recruits

live in isolated rural jungle camps where there is little realistic possibility of escape.


       Mr. Rengifo was not informed of the kidnapping of the victim and had no role

in its planning. He did not make contact with the family in the United States and had

no control over the choice of victim. He was ordered by his commander to guard the

victim and had no choice, upon pain of death, but to obey.


        Mr. Rengifo has never been to the United States and had no role in targeting

the victim. He had no knowledge that the victim was American until informed by

the victim himself after the defendant was ordered by his commander to guard him.




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No part of this crime took place within the territorial jurisdiction of the United

States.


                                        ARGUMENT
                                              I

          THE EXTRATERRITORIAL APPLICATION OF THE HOSTAGE TAKING
          STATUTE TO MR. RENGIFO VIOLATES THE DUE PROCESS CLAUSE
          OF THE FIFTH AMENDMENT


          Because there is an insufficient nexus between Mr. Rengifo and the United

States, the extraterritorial application of the hostage taking statute violates the Due

Process Clause of the Fifth Amendment of the United States Constitution.


          A.     The Due Process Clause of the Fifth Amendment Limits the
                 Extraterritorial Application of Federal Statutes to Defendants
                 Who Have a Sufficient Nexus to the United States



          In United States v. Yousef, 327 F.3d 56 (2d Cir. 2003), the Second Circuit

addressed for the first time the extent to which the Due Process Clause limits the

United States’ assertion of jurisdiction over criminal conduct committed entirely

outside of United States territory. Recognizing the Ninth Circuit view that “[i]n

order to apply extraterritorially a federal criminal statute to a defendant

consistently with due process, there must be a sufficient nexus between the

defendant and the United States, so that such application would not be arbitrary or

fundamentally unfair,” United States v. Davis, 905 F.2d 245, 248‐49 (9th Cir. 1990)

(citation omitted), the Second Circuit expressly adopted this standard as the rule in

this circuit. 327 F.3d at 111.




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       Applying this standard to the defendants in Yousef, the Second Circuit

concluded that assertion of jurisdiction was consistent with due process where

“[t]he defendants conspired to attack a dozen United States‐flag aircraft in an effort

to inflict injury on this country and its people and influence American foreign

policy.” Id. at 112. With respect to the defendants’ bombing of a Philippine Airlines

flight from Manila to Japan, which killed one Japanese passenger and injured

others, the court likewise concluded that assertion of jurisdiction did not offend

due process because the attack was a “test‐run” in furtherance of the conspiracy to

attack United States‐flag aircraft. Id. As the court stated, “[g]iven the substantial

intended effect of their attack on the United States and its citizens, it cannot be

argued seriously that the defendants’ conduct was so unrelated to American

interests as to render their prosecution in the United States arbitrary or

fundamentally unfair.” Id.


       Similarly, in United States v. Al Kassar, 582 F.Supp.2d 488 (S.D.N.Y. 2008),

the district court concluded that there was a sufficient nexus between the

defendants and the United States where the indictment charged defendants with

“voluntarily conspiring to sell millions of dollars worth of weapons to the FARC,

with the expectation that those weapons would be used to kill United States nationals,

as well as taking active steps towards consummating that sale (including receipt of

laundered monies from New York).” 582 F.Supp.2d at 494 (emphasis added).

Because the defendants were charged with “conspiring to sell weapons to the FARC

in an effort to inflict injury on the United States and its people,” id. (emphasis added),




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their prosecution in the United States comported with due process and was not

arbitrary or fundamentally unfair. Id.


       As the Ninth Circuit has observed, “[t]he nexus requirement serves the same

purpose as the ‘minimum contacts’ test in personal jurisdiction. It ensures that a

United States court will assert jurisdiction only over a defendant who ‘should

reasonably anticipate being haled into court’ in this country.” United States v.

Klimavicius­Viloria, 144 F.3d 1249, 1257 (9th Cir. 1998) (quoting World­Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). Thus, for instance,

application of the Maritime Drug Law Enforcement Act (“MDLEA”), 46 U.S.C.

§ 70501 et seq. (formerly 46 U.S.C. app. § 1903), to a foreign national apprehended

on a foreign‐flag vessel on the high seas comports with due process where there is

evidence that the defendant intended to smuggle drugs into United States territory.

See, e.g., Davis, 905 F.2d at 249; Klimavicius­Viloria, 144 F.3d at 1257‐59; United

States v. Khan, 35 F.3d 426, 429‐30 (9th Cir. 1994).2


       The Ninth Circuit has declined to require a nexus to the United States, as a

matter of due process, where the customary international law principle of



2On the other hand, where a foreign national is apprehended on a stateless vessel
on the high seas, the MDLEA can be applied consistent with due process even in the
absence of a nexus requirement. United States v. Caicedo, 47 F.3d 370, 372‐73 (9th
Cir. 1995); United States v. Martinez­Hidalgo, 993 F.2d 1052, 1056 (3d Cir. 1993);
United States v. Alvarez­Mena, 765 F.2d 1259, 1266 (5th Cir. 1985); United States v.
Howard­Arias, 679 F.2d 363, 371‐72 (4th Cir. 1982); United States v. Marino­Garcia,
679 F.2d 1373, 1384 (11th Cir. 1982). This is because a defendant on a stateless
vessel attempts to avoid the law of all nations, and thereby can be charged with
notice that any nation may exert jurisdiction over him. See Caicedo, 47 F.3d at 372‐
73.


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universal jurisdiction applies. United States v. Shi, 525 F.3d 709, 722‐23 (9th Cir.

2008). As the Second Circuit explained in Yousef, “[t]he universality principle

permits a State to prosecute an offender of any nationality for an offense

committed outside of that State and without contacts to that State, but only for the

few, near‐unique offenses uniformly recognized by the ‘civilized nations’ as an

offense against the ‘Law of Nations.’” Yousef, 327 F.3d at 103.3 This limited category

of offenses traditionally included only piracy, but has been extended to include war

crimes and “crimes against humanity.” Id. at 104. In Shi¸ the acts with which the

defendant was charged constituted acts of piracy, leading the Ninth Circuit to

conclude that due process does not require a nexus between the defendant and the

United States because the “the universal condemnation of the offender’s conduct

puts him on notice that his acts will be prosecuted by any state where he is found.”

525 F.3d at 723.4 .




3 The Second Circuit’s discussion of the universality principle in Yousef occurred in
the context of its analysis of subject matter jurisdiction, not the due process
argument analyzed elsewhere in Yousef and specifically at issue here. Unlike the
Ninth Circuit, the Second Circuit has not addressed whether principles of
international law may guide the inquiry into whether the due process nexus
requirement is satisfied in a particular case.
4 Although the Ninth Circuit has noted that “[i]nternational law principles may be
useful as a rough guide of whether a sufficient nexus exists between the defendant
and the United States so that application of the statute in question would not violate
due process,” Davis, 905 F.2d at 249 n.2, it expressly cautioned that “danger exists
that emphasis on international law principles will cause us to lose sight of the
ultimate question: would application of the statute to the defendant be arbitrary or
fundamentally unfair?” Id.


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       There is No Nexus Between Mr. Rengifo and the United States Sufficient
       To Satisfy the Due Process Limit on Application of the Hostage Taking
       Act to Mr. Rengifo’s Extraterritorial Conduct


       Mr. Rengifo is a foreign national, a citizen of Columbia. He was a low level

conscript in the FARC. All of the events underlying this offense took place outside

the United States in Panama or Columbia. The Indictment charges a conspiracy to

take a hostage for the purpose of obtaining ransom. There are no political

motivations contained in the Indictment. This was a purely criminal, financially

motivated offense.

       There is no indication that Mr. Rengifo played any role in deciding to

perpetrate a kidnapping or in choosing the kidnapping victim. Nor is there any

evidence that he knew that the victim had any relationship to the United States until

the victim himself told him after he had started to guard him. There was no

purposeful conduct on the part of Mr. Rengifo to target an American citizen. In

regard to Mr. Rengifo, the status of the victim was completely fortuitous.

       The facts of this case are fundamentally unlike those in cases where courts

have found a nexus between defendants and the United States sufficient to satisfy

due process. In Yousef, the Second Circuit held that the nexus requirement was

satisfied because the defendants’ conduct was purposefully aimed at the United

States – they conspired to attack United States‐flag aircraft and actually bombed a

foreign‐flag aircraft as a test run in furtherance of the conspiracy. 327 F.3d at 112.

Similarly, in Al Kassar, the defendants allegedly conspired to sell weapons to the

FARC with the express expectation that such weapons would be used to kill United



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States nationals. 582 F.Supp.2d at 494. In Davis and other cases in which the MDLEA

was applied to foreign nationals apprehended on foreign‐flag vessels on the high

seas, there was evidence that the defendants intended to transport drugs into

United States territory. See, e.g., Davis, 905 F.2d at 249; Klimavicius­Viloria, 144 F.3d

at 1257‐59; United States v. Khan, 35 F.3d 426, 429‐30 (9th Cir. 1994).


       In contrast, there is no evidence that Mr. Rengifo targeted Americans, or even

had any knowledge that the victim was an American until he was guarding him. He

did not participate in the decision making regarding the occurrence of the

kidnapping, the target of the kidnapping, where the victim would be kept, or

demanding the ransom. He was ordered to guard a man in the jungle and he did so.

He could have been charged with this crime in Panama or perhaps Columbia.

However, there is no justification for extraditing him from Columbia to stand

charges in New York for a crime which carries a potential sentence of life in prison.

The Due Process Clause of the Fifth Amendment requires that the defendant himself

have some nexus to the United States sufficient to ensure that application of a

federal criminal statute to him is not arbitrary or fundamentally unfair. There is no

such nexus in this case, which presents a stark example of arbitrary and

fundamentally unfair application of United States law to a foreign national who has

done nothing to expect to be haled into court here.


       The nexus requirement cannot be dispensed with in this case by reference to

international law. As noted, the principle of universal jurisdiction is limited to a very

specific set of offenses which the Second Circuit specifically declined to expand



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beyond piracy, war crimes, and crimes against humanity. See Yousef, 327 F.3d at

107.


         Under the circumstances presented here, subjecting Mr. Rengifo to the

extraterritorial jurisdiction of the United States, and placing him in jeopardy of life

imprisonment in the United States, deprives him of fundamental fairness and due

process in violation of the Fifth Amendment. Accordingly, the indictment must be

dismissed.




                                       II


THE GOVERNMENT SHOULD PROVIDE DISCOVERY REGARDING THE ROLE OF
THE UNITED STATES AND ITS AGENTS IN OBTAINING THE STATEMENT GIVEN
TO THE COLUMBIAN AUTHORITIES BY MR. RENGIFO
         The government has provided to the defense a copy of a statement which

was given by Mr. Rengifo to Columbian authorities in which he discusses various

topics regarding his life with the FARC. This statement was apparently taken when

Mr. Rengifo was in custody and was given in the absence of Miranda warnings and

an attorney. Presumably the government will seek to enter this statement into

evidence at trial.


         The Second Circuit has addressed the applicability of the rule of Miranda to

the admission of statements made by defendant in a foreign country to foreign

authorities in United States v. Terroist Bombings of U.S. Embassies in East Africa, 552

F. 3d 177 (2d. Cir. 2008). In that case, the Second Circuit noted that the two




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primary goals of the rule of Miranda are to insure the trustworthiness of any

statements elicited and to deter misconduct by law enforcement authorities. Id. at

202. Because the threat of suppression holds little deterrence for foreign

authorities, the Second Circuit declined to extend the rule of Miranda to

statements obtained overseas exclusively by foreign authorities. Id.


        However, the Second Circuit recognized that if United States agents

participated in the interrogation or if the foreign authorities were acting as agents

for their American counterparts, then the interrogation would be a “joint venture”

and subject to the strictures of Miranda. Id. at 203. The Court stated: “ . . . we

proceed on the assumption that the Miranda “warning/waiver” framework

generally governs the admissibility in our domestic courts of custodial statements

obtained by U.S. officials from individuals during their detention under the authority

of foreign governments.” Id.


       Accordingly, prior to the defense making an informed challenge to the

admissibility of the alleged statements of the defendant, the defense requests all

communications between the foreign authorities and United States agents regarding

the interrogation, arrest, and prosecution of Mr. Rengifo. It appears from the

discovery, that during the period of the victim’s captivity, the FBI and other United

States law enforcement were working with the Columbian and/or Panamanian

government to locate the victim. Thus, it is possible that the United States agents

played a part in the interrogation and apprehension of Mr. Rengifo by governmental

authorities overseas. No challenge to the statements can be made until the



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government discloses the relationship between its agents and the foreign law

enforcement authorities.

       In addition, the circumstances surrounding the role of the United States

government in defendant’s interrogation and the eventual decision by the

Columbian authorities to release Mr. Rengifo and then arrest him for extradition to

the United States may contain mitigating evidence which would influence the

defense in this case.

                             CONCLUSION

       For the foregoing reasons, Mr. Rengifo respectfully submits that the

application of the Hostage Taking Act, 18 U.S.C. § 1203, to hold him for trial in the

Southern District of New York violates the Due Process Clause of the Fifth

Amendment, and respectfully urges this Court to grant his motion to dismiss the

indictment. Mr. Rengifo also requests that the Court order the government to turn

over all communications between the United States law enforcement and foreign

governments which bear on the interrogation and prosecution of Mr. Rengifo.




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Dated: January 11, 2011
       New York, NY


                                           Respectfully submitted,




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